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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  (Northern Division)

____________________________________
                                    )
DAVID J. BOSHEA                     )
                                    )
            Plaintiff,              )
                                    )
                   v.               )                Case No.: 1:21-CV-00309-ELH
                                    )
COMPASS MARKETING, INC.             )
            Defendant.              )
____________________________________)

                                             ORDER

       This matter having come before the Court on Plaintiff’s Motion to Amend April 10, 2024

Order, the premise having been considered and there being no objection said motion shall be and

hereby is GRANTED. The Court’s April 10, 2024 Order is amended to provide that the date on

which David J. Boshea’s fee petition is due is extended to the date that is seven days following the

disposition of the two posttrial motions filed by Defendant Compass Marketing, Inc. (CM/ECF

255 and 256).

       This_____ day of April 2024.


                                                             ____________________________
                                                             Ellen L. Hollander
                                                             United States District Judge
